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                     United States District Court
                      District of Massachusetts

                                    )
United States of America,           )
                                    )
             Plaintiff,             )
                                    )
             v.                     )    Criminal Action No.
                                    )    19-10080-NMG
Colburn et al,                      )
                                    )
             Defendants.            )
                                    )


                           MEMORANDUM & ORDER

GORTON, J.

    The government has charged defendants with conspiring with

William “Rick” Singer (“Singer”) to have their children

fraudulently admitted to elite universities by, inter alia,

fabricating applications, falsifying academic and athletic

credentials, cheating on standardized tests, making payments to

corrupt exam proctors and bribing university employees and

athletic coaches.

    Pending before this Court are three motions by defendant

John Wilson (“Wilson” or “defendant”): (1) to sever Wilson’s

trial from those of his codefendants (Docket No. 992), (2) to

dismiss the substantive counts (Docket No. 993), and (3) to

strike the allegations concerning the 2018 Conduct as described

in the indictment (Docket No. 994).




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  I.     Facts

       The facts of this case have been broadly recited in prior

orders of this Court, see Docket Nos. 1169 and 1334, but

relevant here is the following:

       In the spring of 2013, Wilson hired Singer to assist his

son in his college application process.         Wilson’s son played

high school water polo.       Singer communicated with Jovan Vavic

(“Vavic”), the water polo coach at the University of Southern

California (“USC”), about having Wilson’s son accepted to USC as

a water polo recruit.      Singer and Vavic planned to have Wilson’s

son “recruited” as a walk-on in exchange for a “donation” to

USC.    Pursuant to that plan, Wilson agreed to donate $200,000 to

USC, via Singer’s charity, the Key Worldwide Foundation (“KWF”)

and his for-profit consulting business, The Key.

       In addition to the payments, with Wilson’s knowledge and at

the direction of Vavic, Singer embellished the profile of

Wilson’s son to include fabricated awards.

       Wilson’s son was admitted to USC in March, 2014, at which

point Wilson wired $100,000 to KWF, $100,000 to The Key and

$20,000 to Singer personally.        For tax purposes, Wilson deducted

the payments from his reported income as business expenses and a

charitable donation.      Upon receipt of the funds, Singer

forwarded $100,000 to USC in Wilson’s name but kept the

remaining $120,000.


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    The following year, Wilson’s son entered USC and joined the

water polo team.     He left the team one year later due to a

purported injury.

    In the fall of 2018, Wilson contacted Singer about college

opportunities for his twin daughters, including so-called “side

door” donations.     Shortly after the first conversation between

Singer and Wilson about the Wilson twins, Singer began

cooperating with investigators.

    In subsequent calls and at the direction of law

enforcement, Singer told Wilson that his daughters could be

“recruited” to the sailing team, even though they were not

sailors.   Singer told Wilson that they would not have to

participate.   Later that fall, Singer confirmed that he had

secured a “side door” for Wilson’s daughters as athletic

recruits, one at Stanford and one at Harvard.       In response,

Wilson’s company wired two payments of $500,000 each to KWF.



  II.   Discussion

        A. Motion to Sever

            i. Legal Standard

    In considering a motion to sever pursuant to Fed. R. Crim.

P. 14, the general rule in the First Circuit Court of Appeals

“is that those indicted together are tried together to prevent

inconsistent verdicts and to conserve judicial and prosecutorial


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resources.” United States v. DeCologero, 530 F.3d 36, 52 (1st

Cir. 2008) (quoting United States v. Soto–Beniquez, 356 F.3d 1,

29 (1st Cir. 2004)).   To overcome the presumption in favor of a

joint trial, a defendant must demonstrate “prejudice so

pervasive that a miscarriage of justice looms.” United States v.

Sotomayor–Vazquez, 249 F.3d 1, 17 (1st Cir. 2001) (quoting

United States v. Pierro, 32 F.3d 611, 615 (1st Cir. 1994)); see

also United States v. O'Bryant, 998 F.2d 21, 25 (1st Cir. 1993)

(“[W]hen multiple defendants are named in a single indictment, a

defendant who seeks a separate trial can ordinarily succeed in

obtaining one only by making a strong showing of evident

prejudice.”).   Under this stringent standard, the requisite

showing of prejudice “means more than just a better chance of

acquittal at a separate trial.” DeCologero, 530 F.3d at 52

(quoting United States v. Martinez, 479 F.2d 824, 828 (1st Cir.

1973)).

    The preference for a joint trial is particularly strong in

conspiracy cases. United States v. Floyd, 740 F.3d 22, 36 (1st

Cir. 2014) (rule operates with “special force” in conspiracy

cases); United States v. Brandon, 17 F.3d 409, 440 (1st Cir.

1994).    “Demonstrating unfair prejudice sufficient to require

severance of coconspirators’ trials is a difficult battle for a

defendant to win.” Floyd, 740 F.3d at 37 (citation and internal

quotations omitted).   In fact, severance “will rarely, if ever,


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be required” in the context of a conspiracy case. Id. at 36

(quoting United States v. Flores–Rivera, 56 F.3d 319, 325 (1st

Cir. 1995)).

          ii. Analysis

    In support of his motion to sever, Wilson contends that (1)

the government’s conspiracy charges violate Kotteakos v. United

States, 328 U.S. 750 (1946), because they allege no connection

between defendants other than that Singer was the instrument in

each instance, and (2) the facts of Wilson’s case differ

significantly from the facts alleged against his co-conspirators

and thus trying the cases together would result in unfair

prejudice to Wilson and inefficiency to the Court.

    Wilson’s first argument has been previously addressed by

this Court and found to lack force. See Docket No. 1334.         To

properly charge a conspiracy, an indictment must allege the

existence of: (1) a common goal, (2) overlap between the

participants and (3) inter-dependence. See United States v.

Portela, 167 F.3d 687, 695 (1st Cir. 1999).       The Fourth

Superseding Indictment (“FSI”) alleges that Wilson and his co-

conspirators used fraud and bribery to accomplish the common

goal of securing their children’s admission to prestigious

colleges and universities.    In each case, the FSI alleges that

Singer acted as the core conspirator, establishing overlap.

Finally, the FSI alleges that Wilson and his co-conspirators


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were aware of the nature and scope of the scheme, establishing

inter-dependence.     Thus, on its face, the FSI adequately alleges

a single conspiracy, the existence of which is a factual

question for the jury.

    Wilson’s second argument has also been substantially

addressed by this Court with respect to his co-defendant, Robert

Zangrillo. See Docket No. 1373.        Wilson contends that the facts

of his case differ significantly from those of his co-

conspirators because (1) his son was a genuinely talented water

polo player who did, in fact, qualify for the USC water polo

team, (2) Wilson never made payments to any individual at USC,

and (3) Wilson is facing additional charges not brought against

his co-conspirators, namely federal program bribery and tax

fraud.     Wilson concludes that, because of those differences, it

would be prejudicial and inefficient for his trial to be joined

with that of his co-conspirators and therefore it should be

severed.

    The government responds that Wilson’s case is properly

joined under Fed. R. Crim. P. 8(b), thus warranting severance

    only if there is a serious risk that a joint trial would
    compromise a specific trial right of one of the defendants,
    or prevent the jury from making a reliable judgment about
    guilt or innocence.

Zafiro v. United States, 506 U.S. 534, 539 (1993).        The

government submits that Wilson has not and cannot show that a



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joint trial would result in either.

    This Court concludes that Wilson has not identified a

specific trial right that would be compromised by a joint trial,

nor has he shown that he would be unfairly prejudiced by

evidence introduced against his co-conspirators.        The government

has alleged that Wilson was part of an over-arching conspiracy

with Singer at its center.    As part of the conspiracy, the FSI

alleges that Wilson conspired with Singer to have his son and

daughters admitted to university via the “side door” whereby, in

return for payments, Singer would pose Wilson’s children as

athletes, embellishing his son’s resume and submitting his

daughters as athletes in sports in which they had no experience.

Wilson’s contention that the allegations against him demonstrate

less culpability vis-à-vis his co-conspirators because his son

was a genuine athlete and because his payments did not benefit

any individual coach or school official are questions of fact

for the jury.

    Moreover, it will not be inefficient to try the co-

conspirators jointly.   Evidence pertinent to the “side door”

scheme as a whole, Singer’s modus operandi, his associates, USC

admissions practices, etc., are all relevant to the charges

against Wilson and his co-conspirators.      As the government

contends, in a conspiracy,




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    virtually all the evidence relating to the other
    conspirators [is] also directly relevant to, and,
    therefore, independently admissible in, the prosecution's
    case against [the defendant moving for severance].

Flores-Rivera, 56 F.3d at 325.     There will be substantial

overlap between the evidence regarding the conspiracy charges

and the additional charges against Wilson of substantive federal

programs bribery and tax fraud.        Furthermore, because the

additional charges are inextricably linked to the conduct

underlying the conspiracy charges, trying the co-defendants

together will not result in an undue waste of resources.

    To the extent that any potential prejudicial spillover may

occur, the Court will consider appropriate limiting instructions

to the jury. See United States v. Candelario-Santana, 834 F.3d

8, 24 (1st Cir. 2016) (noting that “a trial court can safeguard

a defendant from potentially prejudicial spillover by delivering

jury instructions as to the admissibility of the evidence.”);

see also United States v. Babich, No. 16-CR-10343-ADB, 2019 WL

163102, at *3 (D. Mass. Jan. 10, 2019).       Accordingly, the Court

will not sever Wilson’s trial from the trial of his co-

conspirators.



       B. Motion to Dismiss

           i. Legal Standard

    The Federal Rules of Criminal Procedure provide that an



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indictment must contain “a plain, concise and definite written

statement of the essential facts constituting the offense

charged.” Fed. R. Crim. P. 7(c)(1).      When considering a motion

to dismiss in a criminal case, a court accepts the factual

allegations in the indictment as true. Boyce Motor Lines v.

United States, 342 U.S. 337, 343 n.16 (1952).       Such a motion is

properly directed only to the question of the validity of the

indictment on its face and courts are to be mindful that

    the question is not whether the government has presented
    enough evidence to support the charge, but solely whether
    the allegations in the indictment are sufficient to apprise
    the defendant of the charged offense.

United States v. Ngige, 780 F.3d 497, 502 (1st Cir. 2015)

(quoting United States v. Savarese, 686 F.3d 1, 7 (1st Cir.

2012)).   An indictment is ripe for dismissal if the facts

demonstrate that, as a matter of law, the prosecution will not

be able to prove each of the elements of the charged offense.

United States v. Huet, 665 F.3d 588, 596-97 (3d Cir. 2012).

           ii. Analysis

    As an initial matter, this Court will address only Wilson’s

contention that the five substantive counts are the result of

legal impossibility and must therefore be dismissed.        Wilson’s

argument that the substantive counts warrant dismissal for the

same reasons that the conspiracy counts should be dismissed has

already been addressed and rejected by this Court. See Docket



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No. 1334.

    Wilson contends that the substantive charges against him of

wire fraud and federal program bribery are factually impossible

because the government orchestrated the conduct through its

cooperation with Singer and therefore neither crime could ever

have been completed.

    The government responds that the substantive offenses of

wire fraud and federal program bribery are not defined by the

success of the scheme but rather simply by the nature of the

scheme itself.   Thus, says the government, factual impossibility

does not warrant dismissal of the substantive counts.

    The First Circuit has long held that conduct that falls

short of a completed criminal objective may still be

criminalized and therefore factual impossibility is not a

defense to crimes such as conspiracy or attempt. United States

v. Dixon, 449 F.3d 194, 202 (1st Cir. 2006) (“Since the elements

of those offenses do not require that the unlawful goal be

achieved, factual impossibility is irrelevant.”); see also

United States v. Belardo–Quiñones, 71 F.3d 941, 944 (1st Cir.

1995); United States v. Chapdelaine, 989 F.2d 28, 35 (1st Cir.

1993); United States v. Giry, 818 F.2d 120, 126 (1st Cir. 1987).

    Here, Wilson is charged with the substantive offenses of

wire fraud and federal program bribery.       Although he concedes

that factual impossibility is not a defense to conspiracy


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charges, he cites United States v. Petit, 841 F.2d 1546 (11th

Cir. 1988) and United States v. Jannotti, 673 F.2d 578 (3d Cir.

1982) in support of his argument that factual impossibility is a

defense to substantive criminal offenses.

       In Petit, the Eleventh Circuit was asked to address whether

factual impossibility was a defense to conspiracy to receive

stolen goods.      That court noted, as dicta, that although the

defendants could not be convicted of the substantive offense of

receiving stolen goods, they could be convicted of conspiracy

because, for a conspiracy conviction under section 371 to stand,

       the government did not have to prove that the items were
       actually stolen; it was enough for the government to show
       that the conspirators conspired to receive goods which they
       believed to be stolen.

Petit, 841 F.2d at 1550 (quoting United States v. Sarro, 742

F.2d 1286, 1297 (11th Cir. 1984)).

       Similarly, in Jannotti, the Third Circuit was asked to

address whether factual impossibility was a defense to

conspiracy to violate the Hobbs Act.         In ruling that it was not,

the Third Circuit distinguished Hobbs Act conspiracy from a

substantive Hobbs Act violation, explaining that “[a]

substantive violation of the Hobbs Act generally is supported by

proof of an actual effect on commerce.” Jannotti, 673 F.2d at

591.    By contrast, “illegality of the [conspiracy] agreement

does not depend on the achievement of its ends.” Id.



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    Wilson’s reliance on Petit and Jannotti is misplaced.           Both

of those opinions discuss how factual impossibility may be a

defense to specific substantive crimes but not conspiracies to

commit those crimes.    Neither decision however stands for the

broad proposition that factual impossibility is a defense to any

substantive criminal charge.

    In order to determine whether factual impossibility is a

defense to the substantive crimes with which Wilson has been

charged, one must look to the elements of the crimes themselves.

If “the elements of those offenses do not require that the

unlawful goal be achieved, factual impossibility is irrelevant.”

Dixon, 449 F.3d at 202.

    The elements of a wire fraud conviction under 18 U.S.C. §

1343 are:

    (1) a scheme or artifice to defraud using false or
    fraudulent pretenses; (2) the defendant's knowing and
    willing participation in the scheme or artifice with the
    intent to defraud; and (3) the use of the interstate wires
    in furtherance of the scheme.

United States v. Appolon, 715 F.3d 362, 367 (1st Cir. 2013).

    A person is guilty of federal program bribery under 18

U.S.C. § 666 if he:

    corruptly gives, offers, or agrees to give anything of
    value to any person, with intent to influence or reward an
    agent of an organization or of a State, local or Indian
    tribal government, or any agency thereof, in connection
    with any business, transaction, or series of transactions
    of such organization, government, or agency involving
    anything of value of $5,000 or more.


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18 U.S.C. § 666(a)(2).

     Both wire fraud and federal program bribery require proof

of intent to defraud or bribe but neither requires that the

fraud or bribe accomplish the intended goal. See United States

v. Carrington, 96 F.3d 1, 7 (1st Cir. 1996); see also United

States v. Ring, 706 F.3d 460, 467 (D.C. Cir. 2013).         In this

way, wire fraud and federal program bribery are similar to the

conspiracy charges in Petit and Janotti, where the illegality of

the conduct at issue does not depend on the achievement of its

ends.

     Accordingly, the Court will not dismiss the substantive

counts of wire fraud and federal program bribery.


        C. Motion to Strike

            i. Legal Standard

     Pursuant to Fed. R. Crim. P. 7(d), a defendant may move to

strike surplusage from his indictment.       Rule 7(d) serves to

“protect the defendant against immaterial or irrelevant

allegations in an indictment, . . . which may . . . be

prejudicial.” United States v. Berroa, 856 F.3d 141, 157 (1st

Cir. 2017) (quoting United States v. Lewis, 40 F.3d 1325, 1346

(1st Cir. 1994))(internal quotations omitted).        The decision to

strike surplusage rests in the sound discretion of the district

court. Lewis, 40 F.3d at 1346.


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           ii. Analysis

    Wilson contends that the allegations regarding his 2018

communications with Singer (“2018 Conduct”) are surplusage

because they occurred after the objective of his 2013

communications with Singer had been accomplished, i.e. the

admission of his son to USC.     In the meantime, Singer began

cooperating with the government.        Wilson submits that Singer’s

cooperation nullifies the 2018 conspiracy allegations because he

was simultaneously a government agent incapable of participating

in a two-person conspiracy.

    The government rejoins that the FSI alleges one over-

arching and continuing conspiracy which included many parents,

coaches and insiders over many years and, therefore, Singer’s

cooperation with the government in no way negated the

conspiracy.

    This Court has already addressed the allegation that the

FSI fails to allege one single conspiracy. See Docket No. 1334.

As the Court explained, the FSI sufficiently alleges that

defendants, including Wilson, engaged in one over-arching

conspiracy.   Whether Wilson, in fact, participated in a

different conspiracy with Singer that ended after his son was

admitted to USC or was part of a broader conspiracy with other

actors spanning many years up to and including the 2018 Conduct


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is a question properly left to the jury.       The allegations

regarding the 2018 Conduct are therefore not immaterial,

irrelevant or prejudicial.     Accordingly, the Court will not

strike as surplusage the allegations regarding the 2018 Conduct

from the FSI.



  III. Order

    In accordance with the foregoing, the motions of defendant

John Wilson (1) to sever Wilson’s trial from those of his

codefendants (Docket No. 992), (2) to dismiss the Substantive

Counts (Docket No. 993), and (3) to strike the allegations

concerning the 2018 Conduct as described in the Indictment

(Docket No. 994) are DENIED.



So ordered.


                                        /s/ Nathaniel M. Gorton_____
                                        Nathaniel M. Gorton
                                        United States District Judge
Dated July 28, 2020




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